                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE


                 NOTICE OF DEFICIENCY – PRO HAC MOTION


 To:       Marwan R Daher

 Case No.: 3:22-CV-429


 ✔     Attorney is not admitted (See LR 83.5). This matter will be referred to a magistrate judge if
       a pro hac motion is not filed within 15 days of this Notice. A form motion can be found
       here: httpV://www.tned.uscourts.gov/IRUPVPRWLRQDGPLVVLRQSURKDFYLFH

       Pro hac motion has been filed. However, the following action is required in order for the
       motion to be considered.

            The Clerk’s Office has been unable to confirm your good standing in the
            following state(s). Accordingly, a certificate(s) of good standing must be
            submitted:




            A certificate of good standing from another district court must be submitted.


            The $90.00 filing fee must be paid.


            If the required certificates or filing fee are not submitted within 15 days of this
            Notice, your motion may be summarily denied.




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